Case 1:20-cv-01038-LMB-JFA Document 65 Filed 10/14/21 Page 1 of 7 PageID# 577




                 IN THE UNITED STATES DISTRICT COURT
                 FOR THE EASTERN DISTRICT OF VIRGINIA
                             Alexandria Division
                                      )
ALI ABDALLA HAMZA, et al.             )
                                      )
                 Plaintiffs,          )
                                      ) CIVIL NO. 20-cv-01038 LMB-JFA
       v.                             )
                                      )
 KHALIFA HIFTER,                      )
                                      )
                 Defendant.           )
                                      )

                     MEMORANDUM OF LAW IN SUPPORT OF
                       PLAINTIFFS’ MOTION TO COMPEL
                  DEFENDANT’S DEPOSITION AND FOR SANCTIONS

       Plaintiffs Ali Abdalla Hamza, Nehma Abdalla Al-Mahdi Hamza, Abdelhalim Abdalla

Mahfi Hamza, and Salimah Abudullah Abraheem Jibreel (collectively “Plaintiffs”) submit this

Memorandum of Law in Support of their Motion to Compel Defendant Khalifa Hifter’s

(“Defendant”) Deposition and for Sanctions.

                                        INTRODUCTION

       Since 2014, the Defendant has been the self-described leader of the Libyan National Army

after he declared a coup against the Libyan government. Since that time, he has waged a campaign

of illegal siege warfare in Libya in an effort to completely overthrow the Government of National

Accord, which is recognized by both the United States and United Nations as the legitimate

government. See First Amended Complaint (Dkt. 8) at ¶¶31,40. The Defendant is not only a citizen

of the United States, but he is a legal resident of the Commonwealth of Virginia and owns extensive

property, business, and maintains personal contacts within this Court’s jurisdiction. Id. at ¶17.
Case 1:20-cv-01038-LMB-JFA Document 65 Filed 10/14/21 Page 2 of 7 PageID# 578




        Notwithstanding being ordered by this Court to sit for a deposition after his initial effort to

evade questioning, the Defendant continues to baselessly refuse to participate in this litigation

except to take every step possible to cause further delay of the Plaintiffs’ pursuit for justice.

        Respectfully, the Plaintiffs’ Motion should be granted and, given the circumstances that

have led up to this filing, the Court should also impose sanctions in the form of attorney’s fees

associated with the drafting and arguing of this Motion. 1

                                           ARGUMENT

A.      The Defendant Has Already Been Ordered By This Court To Sit For A Deposition.

        The Plaintiffs initially noticed the Defendant’s Deposition on August 20, 2021, and set it

for September 20-21, 2021, which provided for a month to timely raise any objection. Zaid Decl.

at ¶3. On Saturday, September 18, 2021, at 4:43 P.M. EST, barely forty hours before the

deposition was set to begin, Defendant’s counsel e-mailed to state:

        I apologize for the late notice, but my client will not be appearing for his
        deposition in this matter. Answering questions by deposition would place him in
        criminal jeopardy in Libya, include a possible capital offense.

Id. at ¶4.

        On September 24, 2021, Defendant filed a Motion for entry of a protective order, (Dkt.

44). The Plaintiffs filed their opposition on September 29, 2021. (Dkt. 49), and the Defendant




1
  Pursuant to the Local Rules, the undersigned counsel contacted the Defendant’s counsel for
purpose of meeting and conferring in advance of filing this Motion and indicated that their
opposition would be noted unless they believed it helpful to discuss otherwise. No further
communication on the topic occurred. See Declaration of Mark S. Zaid, Esq. at ¶11 (“Zaid Decl.”)
attached hereto at Exhibit “1”.



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Case 1:20-cv-01038-LMB-JFA Document 65 Filed 10/14/21 Page 3 of 7 PageID# 579




replied on September 30, 2021. Oral arguments were held before Magistrate John F. Anderson

on October 1, 2021. 2

        Judge Anderson, consistent with Magistrate Judge Nachmanoff’s ruling at the hearing on

September 13, 2021, in Elzagally et. al. v. Haftar, 19-cv-0853-LMB-MSN, denied the

Defendant’s Motion on October 1, 2021. (Dkt. 55).

        Therefore, for the second time, on October 1, 2021, the Plaintiffs properly served the

Defendant with a Notice of Deposition for October 14, 2021. Zaid Decl. at ¶10. On October 8,

2021, the Defendants sent the undersigned an Objection to Plaintiff’s Notice of Deposition

reiterating their already judicially rejected position that:

        Mr. Hifter is subject to the Libyan Military Penal Code due to his position with
        the Libyan National Army. The Libyan Military Penal Code forbids Mr. Hifter
        from revealing any state or military secrets of Libya. See Dkt. 53.1 and 57.1.

Id. 3 Defendant’s counsel subsequently confirmed via e-mail on October 12, 2021, that the

Defendant refuses to appear. Id. 4 As a result of the Defendant’s continued refusal to appear, no

deposition took place on October 14, 2021.

        Based on the uncontroverted facts of this case, this Court should again order the Defendant

to sit for his deposition. See e.g., Lorillard Tobacco Co. v. California Imports, LLC, No.

3:10CV817, 2011 WL 4625953, at 2 (E.D. Va. Oct. 3, 2011) (granting defendant’s motion to




2
 The evening before oral arguments, the Defendant filed a Supplement to his Motion (Dkt. 53),
which is now the subject of a Motion to Join (Dkt. 58) a companion case’s Motion to Strike the
Defendant’s filing. The issue is jointly scheduled to be argued on October 15, 2021.
3
 In fact, not only has the Defendant previously been told as part of this lawsuit to appear for his
deposition, he also lost on the same issue in the two other matters pending before this Court:
Elzagally, et al. v. Hifter, 1:19-cv-00853; al-Suyid, et al. v. Hifter, et al., 1:20-cv-00170.
4
  Defendant has stated an intent to appeal Judge Anderson’s Order (Dkt. 55) but at the time of
this filing, no appeal had been filed. Zaid Decl. at ¶10, Ex. “J”, “K”.

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Case 1:20-cv-01038-LMB-JFA Document 65 Filed 10/14/21 Page 4 of 7 PageID# 580




compel depositions of plaintiffs where defendants timely served and noticed depositions within

discovery period and plaintiffs requested change in deposition date but failed to provide alternative

dates to reschedule depositions when requested by defendants); LaMonds v. Lake Ridge Parks &

Recreation Ass., No. 118CV00442AJTTCB, (Dkt. 41) (E.D. Va. Oct. 12, 2018) (granting

defendant’s motion to compel discovery and ordering plaintiff to appear for deposition on specified

date); Act II Jewelry, LLC v. Zhu, No. 2:09CV407, 2010 WL 11450509, at 1 (E.D. Va. Feb. 19,

2010) (granting plaintiff’s motion to compel defendant to attend deposition).

       But given the old adage “fool me once, shame on you; fool me twice, shame on me”, the

Court should now additionally respectfully order that if the Defendant fails to appear for a third

properly noticed deposition, judgment will be entered against him.

B.     The Defendant Should Be Sanctioned In The Form Of Attorney’s Fees.

       The last year of litigation has demonstrated conclusively the obstructionist pattern of the

Defendant. Following Defendant’s initial failure to respond to the lawsuit and the issuance of a

default judgment by this Court, the Court granted Defendant’s Motion to Set Aside Default and

held in abeyance Plaintiffs’ request for attorneys’ fees in connection with same. See Order on

Motion to Set Aside Default (Dkt. 22). At oral arguments on that Motion, the Court instructed

Defendant to participate in the litigation and warned that failure to do so would warrant

reconsideration of Plaintiffs’ request for fees.

       Defendant was scheduled a month in advance to appear at a deposition on Monday,

September 20, 2021. At no time prior to the Plaintiffs being informed just forty hours before the

deposition did the Defendant ever raise any concerns or objections. Yet the Defendant knew weeks

earlier that he would not appear but at no time did his counsel inform the Plaintiffs. Zaid Decl. at

Zaid Decl. at ¶¶3-6. Yet, still, they told the undersigned nothing. Here, no substantial justification

was offered for Defendant’s failure to provide notice, to appear for his deposition or to abide by


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Case 1:20-cv-01038-LMB-JFA Document 65 Filed 10/14/21 Page 5 of 7 PageID# 581




his lawful discovery obligations. As a result of the Defendant’s intentional refusal to participate

in discovery, Plaintiffs incurred out-of-pocket costs of $2,029.80 (of which $39.80 was a fee

assessed for using a credit card). Id. at ¶7. The Defendant notified the Plaintiffs that he agreed to

reimburse those expenses. Id. 5

       Following being ordered by Magistrate Judge Anderson on October 1, 2021, to sit for the

Plaintiff’s deposition, the Defendant again ignored a properly served Notice for Deposition and

failed to appear on October 14, 2021. 6 Id. at ¶10.

       Rule 37(d) provides that the court may order sanctions if a party fails to attend his/her own

deposition. Fed. R. Civ. P. 37(d)(1)(A). If sanctions are deemed warranted, “the court must

require the party failing to act, the attorney advising that party, or both to pay the reasonable

expenses, including attorney's fees, caused by the failure, unless the failure was substantially

justified or other circumstances make an award of expenses unjust.” Fed. R. Civ. P. 37(d)(3).

       The Defendant’s actions have caused the Plaintiffs’ legal team to unnecessarily expend

valuable time in order to prepare yet another legal filing to force compliance with the basic

concepts    of    the    American      legal    system.    Based      on    the    Laffey    Matrix

(http://www.laffeymatrix.com/see.html) establishing the hourly rates for attorneys practicing in

our geographical area, the following was incurred:




5
 Although the Defendant’s counsel pledged to provide reimbursement of the full $2,029.80 on
September 29, 2021, no payment has been received despite the passage of more than two weeks.
Zaid Decl. at ¶7.
6
  Yet at the same time the Defendant refuses to respect the orders of this Court and the rule of
law, he has the audacity to request to depose the Plaintiffs. Notwithstanding the actual perils that
the Libyan plaintiffs face by participating in a deposition that could expose their whereabouts,
they are nonetheless cooperating and are scheduling their depositions for later this month.

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Case 1:20-cv-01038-LMB-JFA Document 65 Filed 10/14/21 Page 6 of 7 PageID# 582




               Mark Zaid: 2.4 hours x $919/hr = $2,205.60
               Tom Craig: 1 hours x $764/hr = $764.00
               Matthew Jury: 1.3 hours x $764/hr = $993.20
               Joseph Snape: 0.8 hours x $468/hr = $374.40
               Selma Al Taii (paralegal – non Laffey rate): 4 hours x $175/hr = $700.00
               Emma Barrow (paralegal – non Laffey rate: 0.1 hours x $/175hr = $17.50

               TOTAL = $5,054.70.

Zaid Decl. at ¶12.

       Accordingly, Plaintiffs again respectfully request that attorneys’ fees, minimal as they

may be, are imposed upon the Defendant (and his counsel if appropriate) as sanctions given his

past and continuing disregard for the orders of this Court.

                                         CONCLUSION

       For the reasons set forth above, the Plaintiffs respectfully request that this Court grant their

Motion to Compel Defendant’s Deposition and for Sanctions.

Dated: October 14, 2021

                                               Respectfully Submitted,

                                               /s/ Thomas M. Craig
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Case 1:20-cv-01038-LMB-JFA Document 65 Filed 10/14/21 Page 7 of 7 PageID# 583




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                                               Counsel for Plaintiffs


                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 14th day of October 2021, I electronically filed the

foregoing “Plaintiffs’ Memorandum of Law in Support of Plaintiff’s Motion to Compel

Defendant’s Deposition and for Sanctions” with the Clerk of the Court using the CM/ECF

system, which will send a notification of such filing to counsel of record for all Parties.


                                                    /s/ Thomas M. Craig
                                               Thomas M. Craig, VSB No. 68063




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